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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

       PATRICIA A. SHENK,                             *      Case No.: 1:17-cv-00145-DLF

               Plaintiff                              *

               v.                                     *

       MALLINCKRODT PLC, et al.,                      *

               Defendants.                            *

                       NOTICE OF FILING IN RELATED MATTER

       This Notice is to inform the Court of the pendency of related matters pursuant to LCvR

40.5(b)(3). On September 17, 2019, Plaintiff filed the shareholder derivative complaint in case

no. 1:19-cv-02778-TFH (Brandhorst v. Trudeau, et al.). The filing should have been deemed

related to this case. Attached hereto is a Notice of Related Matter that has been filed in the

Brandhorst case contemporaneously with this Notice .

                                              Respectfully submitted,



                                                     /S/ Thomas J. Minton
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                                     Certifacte of Service

I hereby certify that on this 7th day of November, 2019 I filed the foregoing Notice and
attachment via the ECF system, and that all counsel of record will be served with copies through
that system.


                                                           /S/ Thomas J. Minton
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